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 7
 8
 9                             UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
10
11
       Chris Langer,                            Case No.
12
                 Plaintiff,
13                                              Complaint For Damages And
                   v.                           Injunctive Relief For Violations
14                                              Of: American’s With Disabilities
       Avenue 26 Holdings, LLC, a               Act; Unruh Civil Rights Act
15     California     Limited       Liability
       Company;
16     Parisel, LLC, a California Limited
       Liability Company;
17     Laura Worchell, in individual and
       representative capacity as trustee of
18     the Exempt Marital Trust under The
       Laura and Larry Worchell Family
19     Trust dated January 21, 2005; and
       Does 1-10,
20
                   Defendant.
21
22         Plaintiff Chris Langer complains of Avenue 26 Holdings, LLC, a
23   California Limited Liability Company; Parisel, LLC, a California Limited

24   Liability Company; Laura Worchell, in individual and representative capacity
25   as trustee of the Exempt Marital Trust under The Laura and Larry Worchell
26   Family Trust dated January 21, 2005; and Does 1-10 (“Defendants”), and

27   alleges as follows:
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 1     PARTIES:
 2     1. Plaintiff is a California resident with physical disabilities. He is a
 3   paraplegic who cannot walk and who uses a wheelchair for mobility. He has a
 4   specially equipped van with a ramp that deploys out of the passenger side of
 5   his van and he has a Disabled Person Parking Placard issued to him by the State
 6   of California.
 7     2. Defendants Avenue 26 Holdings, LLC and Parisel, LLC owned the real
 8   property located at or about 1700 N. Vermont Avenue, Los Angeles,
 9   California, in January 2020.
10     3. Defendants Avenue 26 Holdings, LLC and Parisel, LLC own the real
11   property located at or about 1700 N. Vermont Avenue, Los Angeles,
12   California, currently.
13     4. Defendant Laura Worchell, in individual and representative capacity as
14   trustee of the Exempt Marital Trust under The Laura and Larry Worchell
15   Family Trust dated January 21, 2005, owned the real property located at or
16   about 1700 N. Vermont Avenue, Los Angeles, California, in January 2020.
17     5. Defendant Laura Worchell, in individual and representative capacity as
18   trustee of the Exempt Marital Trust under The Laura and Larry Worchell
19   Family Trust dated January 21, 2005, owns the real property located at or
20   about 1700 N. Vermont Avenue, Los Angeles, California, currently.
21     6. Plaintiff does not know the true names of Defendants, their business
22   capacities, their ownership connection to the property and business, or their
23   relative responsibilities in causing the access violations herein complained of,
24   and alleges a joint venture and common enterprise by all such Defendants.
25   Plaintiff is informed and believes that each of the Defendants herein,
26   including Does 1 through 10, inclusive, is responsible in some capacity for the
27   events herein alleged, or is a necessary party for obtaining appropriate relief.
28   Plaintiff will seek leave to amend when the true names, capacities,


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 1   connections, and responsibilities of the Defendants and Does 1 through 10,
 2   inclusive, are ascertained.
 3
 4     JURISDICTION & VENUE:
 5     7. The Court has subject matter jurisdiction over the action pursuant to 28
 6   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
 7   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
 8     8. Pursuant to supplemental jurisdiction, an attendant and related cause
 9   of action, arising from the same nucleus of operative facts and arising out of
10   the same transactions, is also brought under California’s Unruh Civil Rights
11   Act, which act expressly incorporates the Americans with Disabilities Act.
12     9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
13   founded on the fact that the real property which is the subject of this action is
14   located in this district and that Plaintiff's cause of action arose in this district.
15
16     FACTUAL ALLEGATIONS:
17     10. Plaintiff went to the property in January 2020 to visit Starbucks with the
18   intention to avail himself of its goods and to assess the business for compliance
19   with the disability access laws.
20     11. Starbucks is a facility open to the public, a place of public
21   accommodation, and a business establishment.
22     12. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
23   to provide wheelchair accessible parking in conformance with the ADA
24   Standards as it relates to wheelchair users like the plaintiff.
25     13. On information and belief, the defendants currently fail to provide
26   wheelchair accessible parking.
27     14. These barriers relate to and impact the plaintiff’s disability. Plaintiff
28   personally encountered these barriers.


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 1     15. As a wheelchair user, the plaintiff benefits from and is entitled to use
 2   wheelchair accessible facilities. By failing to provide accessible facilities, the
 3   defendants denied the plaintiff full and equal access.
 4     16. The failure to provide accessible facilities created difficulty and
 5   discomfort for the Plaintiff.
 6     17. The defendants have failed to maintain in working and useable
 7   conditions those features required to provide ready access to persons with
 8   disabilities.
 9     18. The barriers identified above are easily removed without much
10   difficulty or expense. They are the types of barriers identified by the
11   Department of Justice as presumably readily achievable to remove and, in fact,
12   these barriers are readily achievable to remove. Moreover, there are numerous
13   alternative accommodations that could be made to provide a greater level of
14   access if complete removal were not achievable.
15     19. Plaintiff will return to Starbucks to avail himself of its goods and to
16   determine compliance with the disability access laws once it is represented to
17   him that Starbucks and its facilities are accessible. Plaintiff is currently
18   deterred from doing so because of his knowledge of the existing barriers and
19   his uncertainty about the existence of yet other barriers on the site. If the
20   barriers are not removed, the plaintiff will face unlawful and discriminatory
21   barriers again.
22     20. Given the obvious and blatant nature of the barriers and violations
23   alleged herein, the plaintiff alleges, on information and belief, that there are
24   other violations and barriers on the site that relate to his disability. Plaintiff will
25   amend the complaint, to provide proper notice regarding the scope of this
26   lawsuit, once he conducts a site inspection. However, please be on notice that
27   the plaintiff seeks to have all barriers related to his disability remedied. See
28   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff


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 1   encounters one barrier at a site, he can sue to have all barriers that relate to his
 2   disability removed regardless of whether he personally encountered them).
 3
 4   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
 5   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
 6   Defendants.) (42 U.S.C. section 12101, et seq.)
 7     21. Plaintiff re-pleads and incorporates by reference, as if fully set forth
 8   again herein, the allegations contained in all prior paragraphs of this
 9   complaint.
10     22. Under the ADA, it is an act of discrimination to fail to ensure that the
11   privileges, advantages, accommodations, facilities, goods and services of any
12   place of public accommodation is offered on a full and equal basis by anyone
13   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
14   § 12182(a). Discrimination is defined, inter alia, as follows:
15            a. A failure to make reasonable modifications in policies, practices,
16                or procedures, when such modifications are necessary to afford
17                goods,     services,   facilities,   privileges,    advantages,     or
18                accommodations to individuals with disabilities, unless the
19                accommodation would work a fundamental alteration of those
20                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
21            b. A failure to remove architectural barriers where such removal is
22                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
23                defined by reference to the ADA Standards.
24            c. A failure to make alterations in such a manner that, to the
25                maximum extent feasible, the altered portions of the facility are
26                readily accessible to and usable by individuals with disabilities,
27                including individuals who use wheelchairs or to ensure that, to the
28                maximum extent feasible, the path of travel to the altered area and


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 1                the bathrooms, telephones, and drinking fountains serving the
 2                altered area, are readily accessible to and usable by individuals
 3                with disabilities. 42 U.S.C. § 12183(a)(2).
 4     23. When a business provides parking for its customers, it must provide
 5   accessible parking.
 6     24. Here, accessible parking has not been provided in conformance with
 7   the ADA Standards.
 8     25. The Safe Harbor provisions of the 2010 Standards are not applicable
 9   here because the conditions challenged in this lawsuit do not comply with the
10   1991 Standards.
11     26. A public accommodation must maintain in operable working condition
12   those features of its facilities and equipment that are required to be readily
13   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
14     27. Here, the failure to ensure that the accessible facilities were available
15   and ready to be used by the plaintiff is a violation of the law.
16
17   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
18   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
19   Code § 51-53.)
20     28. Plaintiff repleads and incorporates by reference, as if fully set forth
21   again herein, the allegations contained in all prior paragraphs of this
22   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
23   that persons with disabilities are entitled to full and equal accommodations,
24   advantages, facilities, privileges, or services in all business establishment of
25   every kind whatsoever within the jurisdiction of the State of California. Cal.
26   Civ. Code §51(b).
27     29. The Unruh Act provides that a violation of the ADA is a violation of the
28   Unruh Act. Cal. Civ. Code, § 51(f).


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 1      30. Defendants’ acts and omissions, as herein alleged, have violated the
 2   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
 3   rights to full and equal use of the accommodations, advantages, facilities,
 4   privileges, or services offered.
 5      31. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
 6   discomfort or embarrassment for the plaintiff, the defendants are also each
 7   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
 8   (c).)
 9
10             PRAYER:
11             Wherefore, Plaintiff prays that this Court award damages and provide
12   relief as follows:
13           1. For injunctive relief, compelling Defendants to comply with the
14   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
15   plaintiff is not invoking section 55 of the California Civil Code and is not
16   seeking injunctive relief under the Disabled Persons Act at all.
17           2. Damages under the Unruh Civil Rights Act, which provides for actual
18   damages and a statutory minimum of $4,000 for each offense.
19           3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
20   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
21
     Dated: June 1, 2020                  CENTER FOR DISABILITY ACCESS
22
23
                                          By:
24
                                          _______________________
25
                                                 Russell Handy, Esq.
26                                               Attorney for plaintiff

27
28


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